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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION
                                                                                               '-V   I


UNITED STATES OF AMERICA                                      Criminal No.: 1:19MJ




LESLIE A. NIETO,                                              Initial Appearance: March 18,2019

                       Defendant.



                                  CRIMINAL INFORMATION


                                COUNT I(Misdemeanor 7869530)

THE UNITED STATES ATTORNEY CHARGES THAT:


       On or about July 22,2018, at Fort Belvoir, Virginia, within the special maritime and

territorial jurisdiction ofthe United States in the Eastern District of Virginia, the defendant,

LESLIE A. NIETO, did willfully leave her five-year-old and three-year-old children in need of

supervision.

(In violation of Title 18, United States Code, Section 13 assimilating Virginia Code Section
18.2-371)
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